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Western Division _V ,

 

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20232-D

JANET GRIFFIN

 

ORDER OF TEMPORARY DETENTION
PENDING I-IEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Defendant, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 5, 2005 at 2:45 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.

Date: July l, 2005

D K. VO
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3l42(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the govemment or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B)'85} Order of Teniporary Detention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20232 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

